                         UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                 No. 5:24-cv-547


REPUBLICAN NATIONAL COMMITTEE; and             )
NORTH CAROLINA REPUBLICAN PARTY,               )
                                               )
                Plaintiffs,                    )
v.                                             )
                                               )
NORTH CAROLINA STATE BOARD OF                  )
ELECTIONS; KAREN BRINSON BELL, in              )
her official capacity as Executive Director of )
the North Carolina State Board of Elections;   )
ALAN HIRSCH, in his official capacity as       )
Chair of the North Carolina State Board        )         STATE BOARD DEFENDANTS’
of Elections; JEFF CARMON, in his official     )             NOTICE OF APPEAL
capacity as Secretary of the North Carolina    )
State Board of Elections; STACY EGGERS         )
IV, KEVIN N. LEWIS, and SIOBHAN                )
O’DUFFY MILLEN, in their official capacities   )
as members of the North Carolina State Board   )
of Elections,                                  )
                                               )
                Defendants,                    )
                                               )
and                                            )
                                               )
THE DEMOCRATIC NATIONAL COMMITTEE, )
                                               )
                Intervenor-Defendant.          )

       Defendants the North Carolina State Board of Elections, its members, and its Executive

Director, hereby give notice of their appeal to the United States Court of Appeals for the Fourth

Circuit from the Judgment entered on October 17, 2024 (D.E. 59), and the Order entered that

same day (D.E. 58).




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Respectfully submitted this the 18th day of October, 2024.

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                                   CERTIFICATE OF SERVICE

        I certify that the foregoing was filed electronically with the Clerk of Court using the
   CM/ECF system which will send notification of such filing to the below listed attorneys:

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       This the 18th day of October, 2024.

                                                    /s/ Sarah G. Boyce
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